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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                 Criminal No. 06-cr-79-PB

Dorothy Collins, Patrick Shiner,
Keith Samson and Bylinda Floyd



                                 O R D E R


     Defendant Bylinda Floyd has moved through counsel to

continue the June 6, 2006 trial in the above case, citing the

need for additional time to review recently provided discovery

and prepare a defense.       The government does not object to a

continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from June 6, 2006 to July 6, 2006.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the
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best interests of the public and the defendants in a speedy

trial.

      The May 23, 2006 final pretrial conference is continued

until June 27, 2006 at 4:30 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 22, 2006

cc:   Michael D. Ramsdell, Esq.
      Richard Monteith, Ese.
      Paul Pappas, Esq.
      Michael Shklar, Esq.
      Debra Walsh, AUSA
      United States Probation
      United States Marshal




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